
Kelly, C.J.
(dissenting). I would grant leave to appeal to consider whether the Court of Appeals opinion in People v Filip1 misstates the law by concluding that MCL 769.11b does not apply to parole detainees. Its holding, which was relied on by the lower court in this case, does not seem to flow from the language of the statute. We denied leave to appeal in Filip because it was moot. But this case is not moot.
Although the Court has refused to address the parole sentencing issue presented in this case on numerous occasions,2 the issue does not go away. The large number of applications for leave to appeal on this issue suggests that lower courts and litigants would profit from the clarification this Court could provide.
The Court should grant leave to appeal to consider this jurisprudentially significant issue.
Cavanagh, J. I join the statement of Chief Justice Kelly.
Hathaway, J. (not participating). To avoid unnecessary delay to the parties in cases considered by this Court before I assumed office, I follow the practice of previous justices in transition and participate only in cases that need my vote to achieve a majority for a decision.

 People v Filip, 278 Mich App 635 (2008).


 See, e.g., People v Willavize, 482 Mich 897 (2008); People v Patterson, 482 Mich 895 (2008); People v Rodgers, 482 Mich 894 (2008).

